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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

ELISABETH CLEVELAND, on behalf of                  Case No. 20-cv-01906-WMW-KMM
herself and all others similarly situated,
                                                  [PROPOSED] ORDER GRANTING
             Plaintiff,                           JOINT STIPULATION TO HOLD
                                                  ANSWER DEADLINE IN
v.                                                ABEYANCE PENDING FINAL
WHIRLPOOL CORPORATION,                            APPROVAL OF THE CLASS
                                                  SETTLEMENT
             Defendant.


      The above-captioned matter came before the Court on the parties’ Joint Stipulation to

Hold Answer Deadline in Abeyance Pending Final Approval of the Class Settlement by

Plaintiffs and Defendant Whirlpool Corporation (together, the “Parties”).

      Having reviewed the matter, IT IS HEREBY ORDERED THAT:

      The Parties’ Joint Stipulation to Hold Answer Deadline in Abeyance Pending Final

Approval of the Class Settlement (Doc 64) is GRANTED. Whirlpool’s answer deadline is

held in abeyance pending final approval of the class settlement.



Dated: _____________, 2021               _________________________________
                                         Katherine Menendez
                                         UNITED STATES MAGISTRATE JUDGE
